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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

United States of America, et al.
                                             Plaintiff,
v.                                                            Case No.: 1:20−cv−02658
                                                              Honorable Gary Feinerman
Dairy Farmers of America, Inc., et al.
                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, July 17, 2020:


        MINUTE entry before the Honorable Gary Feinerman:Unopposed motion for
order to appoint Divestiture Trustee [35] is entered and continued. Any opposition to the
motion shall be filed by 7/23/2020. If no opposition is filed, the motion will be granted.
Motion hearing set for 7/28/2020 at 9:30 a.m. Attorneys/Parties should appear for the
hearing by calling the Toll−Free Number: (877) 336−1828, Access Code: 4082461.
Members of the public and media will be able to call in to listen to this hearing (use toll
free number). Please, please be sure to keep your phone on mute when you are not
speaking. Persons granted remote access to proceedings are reminded of the general
prohibition against photographing, recording, and rebroadcasting of court proceedings.
Violation of these prohibitions may result in sanctions, including removal of court issued
media credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court. Mailed notice.(jlj, )




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